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      Erin Abbott <erinabbott@wsdr4.org>
    mossies <mossies@centurytel.net>
        Banning Books
     February 2, 2022 at 1:22:56 PM CST

 Dear Michael,

 Thank you for your email. I appreciate that you took the time to reach out to the Board
 with your perspective about The Bluest Eye being removed from WSD libraries. I read
 the book and planned to uphold the recommendation of the book review committee. As
 you know, a motion was made to remove the book, the Board voted, and the outcome
 was the removal of the book in question. This is not the outcome I had hoped for but the
 majority of the Board chose to move forward by removing the book despite the
 recommendation of the book review committee's recommendation to retain the book.


 Sincerely,


 Erin

 On Tue, Jan 25, 2022 at 2:28 PM mossies <mossies@centurytel.net> wrote:


   To the Wentzville School Board Members:

   How is banning books any different from burning books? I remember a man in
   Germany in the late 1930's who enjoyed burning books.

   Did you read this book?

   Public education is funded by public tax dollars.

   Taking this action is truly incredible! What's next?

   I am appalled by your vote to take this action while deferring to take action on mask
   mandates!

   Please resign if you voted to ban this book.

   I would appreciate and expect to hear from you concerning this matter.




                                                                          Exhibit 26
